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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

FUSION ELITE ALL STARS, et al.,

Plaintiffs,
¥: Civ. Action No. 2:20-cv-02600

VARSITY BRANDS, LLC, et al.,

Defendants.

 

JESSICA JONES, et al.,

Plaintiffs,

Vv.
Civ. Action No. 2:20-cev-02892

BAIN CAPITAL PRIVATE EQUITY, et al.

Defendants.

 

AMERICAN SPIRIT AND CHEER
ESSENTIALS, INC., et al.,

Plaintiffs,
Vv. Civ. Action No. 2:20-cv-02782

VARSITY BRANDS, LLC, et al.,

Defendants.

 

 

DECLARATION OF BRENDAN GAFFNEY IN SUPPORT OF DEFENDANTS’
RESPONSE TO PLAINTIFFS’ JOINT MOTION TO MODIFY SCHEDULING ORDERS

I, Brendan P. Gaffney, declare as follows:
 

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1, My name is Brendan P. Gaffney. I am over twenty-one (21) years of age, of sound
mind, and competent to make this declaration. I make the following statements based upon my
own personal knowledge of the facts stated herein.

2. As counsel for Jeff Webb, I have been personally involved in responding to
Plaintiffs’ discovery requests and in discussions with Plaintiffs’ counsel regarding Mr. Webb’s
discovery responses and document productions. Among other things, I have been involved in the
collection, review, and production of documents in response to Plaintiffs’ First Request for
Production of Documents to Defendant Jeff Webb (the “Requests”).

3. On September 18, 2021, Plaintiffs filed their Motion to Compel Discovery
Responses from Defendant Jeff Webb (the “Motion to Compel’), to which Mr. Webb filed his
response on October 4, 2021. ECF Nos. 103, 110.

4, On October 28, 2021, a hearing on Plaintiffs’ Motion to Compel was held before
Magistrate Judge Charmiane Claxton. | attended the hearing, during which I argued on Mr. Webb’s
behalf, and have reviewed the transcript from the hearing. During the October 28 hearing,
Magistrate Judge Claxton ruled that the applicable relevant time period for production of
documents in response to the Requests would be from January 1, 2015 until one year after the date
that Mr. Webb’s employment with Varsity ended. This ruling is reflected further in the Order
entered by Magistrate Judge Tu M. Pham on November 19, 2021. ECF No. 165.

5, Included among the documents produced to Plaintiffs were Mr. Webb’s
employment and consulting agreements, from which Plaintiffs can understand that Mr. Webb was
an employee with Varsity until December 1, 2020.

6. Documents remaining for Mr. Webb to produce include any text messages

responsive to the Requests for the relevant time period, and any additional documents from
 

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December 10, 2020 until December 1, 2021. The number of responsive text messages and
additional documents for production will be minimal.

7. I declare under penalty of perjury that the foregoing is true and correct.

Executed on December 2, 2021.

   
   

  

Brendan P. Gaffney <<. WA
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